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 8                                IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   DAVID REYES,

11                   Plaintiff,                     No. CIV 2:10cv0267-JFM (PC)

12          vs.

13   MITCHEL et al.,

14                   Defendants.                    ORDER

15                                            /

16                   Plaintiff, a state prisoner proceeding pro se, has filed a civil rights action pursuant

17   to 42 U.S.C. § 1983. On February 2, 2010, plaintiff filed a request for leave to proceed in forma

18   pauperis pursuant to 28 U.S.C. § 1915. Plaintiff has not, however, filed a certified copy of his

19   prison trust account statement for the six month period immediately preceding the filing of the

20   complaint and has not obtained the certification required on the application form. See 28 U.S.C.

21   § 1915(a)(2). Plaintiff will be provided the opportunity to submit the completed application and

22   the certified copy in support of his application to proceed in forma pauperis.

23                   In accordance with the above, IT IS HEREBY ORDERED that:

24                   1. Plaintiff shall submit, within thirty days from the date of this order, a certified

25   copy of his prison trust account statement for the six month period immediately preceding the

26   filing of the complaint and the certification required on the application form. Plaintiff’s failure

                                                        1
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 1   to comply with this order will result in a recommendation that this action be dismissed without

 2   prejudice.

 3                      2. The Clerk of the Court is directed to send plaintiff a new Application to

 4   Proceed In Forma Pauperis By a Prisoner.

 5   DATED: March 3, 2010.

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